Case 3:25-cv-01251-SK Document3_ Filed 02/05/25 Page1of13

UNITED STATES DISTRICT COURT / L E
NORTHERN DISTRICT OF CALIFORNIA Fp 5 D
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ANINDA MUKHERJEE, Case No. 25-cv-01251-SK MCT COUp,
AFopy,
Plaintiff, I,
v. SCHEDULING ORDER FOR

IMMIGRATION MANDAMUS CASE
JENNIFER B. HIGGINS,

Defendant.

This action seeks a writ of mandamus regarding immigration benefits filed pursuant to
the mandamus statute, 28 U.S.C. § 1361, and/or the Administrative Procedure Act, 5 U.S.C.
§§ 701 et seq, and is assigned to the Honorable Sallie Kim.

Magistrate Judge Jurisdiction. This case has been randomly assigned to a magistrate
judge, who, with written consent of all parties, may conduct all proceedings in a case, including
all pretrial and trial proceedings, entry of judgment and post-trial motions, with appeal directly to
the United States Court of Appeals for the Ninth Circuit. See “Consenting to the Jurisdiction ofa
Magistrate Judge” on the Court’s webpage at www.cand.uscourts.gov for more information.

Petitioner must complete and file the attached form “Consent or Declination to
Magistrate Judge Jurisdiction” within 14 days of case initiation, and all other parties must file
within 14 days of appearing in the case, or as otherwise ordered by the Clerk or magistrate judge.

Important briefing deadlines. Unless the court orders otherwise, counsel must comply
with the briefing schedule below. Please note:

e Any party may request that the court set a case management conference, pursuant to Civil
L.R. 16-10, according to the schedule in Civil L.R. 16-2. Federal Rule of Civil Procedure
26 and Civil L.R. 16-9 and 16-10 shall apply.

e Motions shall be noticed in accordance with Civil L.R. 7-2.

e A party may request that the court decide the matter on the briefs and without oral °
argument pursuant to Civil L.R. 7-1(b).
Case 3:25-cv-01251-SK Document3 _ Filed 02/05/25 Page 2 of 13

Case Management Event Deadline

Last day for Defendant to file answer 60 days after service of complaint

Last day for Defendant to file motion for summary judgment | 120 days of service of the complaint
(required unless Petitioner has already filed such a motion)

Last day for Petitioner to file and serve opposition and/or 30 days after service of Defendant's
counter-motion motion

Last day for Defendant to serve and file a reply and/or 14 days of service of Plaintiff's
opposition opposition or counter-motion

Last day for Plaintiff to serve and file a reply (if Plaintiff filed | 14 days of service of Defendant's
a counter-motion) opposition.

Intake Immigration Mandamus rev. Jan 2024 Page 2
United States District Court
Northern District of California

Case 3:25-cv-01251-SK Document3_ Filed 02/05/25 Page 3of13

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

STANDING ORDER FOR
MAGISTRATE JUDGE SALLIE KIM
(Effective November 15, 2024)

Parties shall comply with the procedures in the Federal Rules of Civil or Criminal
Procedure, the Norther District of California’s Local Rules and General Orders, and this
standing order, all of which are available at http://www.cand.uscourts.gov. The parties’ failure to
comply with any of the rules or orders may be grounds for monetary sanctions, dismissal, entry of

judgment, or other appropriate sanctions.

CALENDAR DATES AND SCHEDULING

Motions are heard each Monday: civil motions at 9:30 a.m. and criminal motions at 11:00
a.m. During the months when Judge Kim is on criminal duty, the Court may move any civil
motion to 11:00 a.m. Civil case management and status conferences are heard on Mondays at
1:30 p.m. Pretrial conferences are held on Fridays at 1:30 p.m. and trials will begin at 8:30 a.m.
on Tuesdays.

Parties should notice motions pursuant to the local rules. Parties need not reserve a hearing
date, but should confirm the Court’s availability by viewing the scheduling notes for Judge Kim on

the Northern District of California website at http://www.cand.uscourts.gov. The Court may reset

hearing dates as the Court’s calendar requires. For scheduling questions, please contact Judge

Kim’s courtroom deputy, Brenda Lopez at skcrd@cand.uscourts.gov or (415) 522-4158.

Case 3:25-cv-01251-SK Document3_ Filed 02/05/25 Page 4 of 13

United States District Court
Northern District of California

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Case 3:25-cv-01251-SK Document3 _ Filed 02/05/25 Page 5of13

CONSENT CASES
In civil cases randomly assigned to Judge Kim for all purposes, the parties should file their
written consent to the assignment of a United States Magistrate Judge for all purposes or their -
written declination of consent as soon as possible, and in no event later than the deadlines
specified in Civil L.R. 73-1(a)(1) and (2).
CHAMBERS COPIES AND PROPOSED ORDERS

Under Civil L.R. 5-1 and 5-2, parties must lodge an extra paper copy of any filing, with the
exception of the written consent/declination to the assignment of a United States Magistrate Judge.
All chambers copies should bear the ECF filing “‘stamp” (case number, docket number, date, and
ECF page number) along the top of the page. All pleadings should be punched with three holes on
the side. All exhibits shall be clearly separated by tabs. Chambers copies must be marked
“Chambers Copy” and submitted to the Clerk’s Office in an envelope clearly marked “Magistrate
Judge Sallie Kim,” and include the case number on the envelope. The chambers copies must be
mailed or delivered to chambers according to the deadlines set forth in Civil Local Rule 5-1(e)(7).

Any stipulation or proposed order in a case subject to e-filing should be submitted in
Microsoft Word format by email to skpo@cand.uscourts.gov on the same day the document is e-
filed. This address should only be used for this stated purpose unless otherwise directed by the
Court. .

MOTIONS FOR SUMMARY JUDGMENT

Absent of a showing of good cause, the Court will address only one motion for summary
judgment per side. Separate statements of undisputed facts will not be considered by the Court.
Joint statements of undisputed facts are not required, but are helpful if completely agreed upon. If
parties submit excerpts of deposition transcripts in support of or opposition to a motion for
summary judgment, they shall highlight the relevant portions for ease of reference.

CIVIL CASE MANAGEMENT

No later than seven (7) days prior to the any scheduled case management or status

conference, the parties shall file a Joint Case Management Statement in full compliance with the

Northern District of California’s General Standing Order for civil cases entitled “Contents of
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United States District Court
Northern District of California

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Case 3:25-cv-01251-SK Document3_ Filed 02/05/25 Page 6of13

Joint Case Management Statement.” The parties shall appropriately caption their filing to read:
“Tnitial Joint Case Management Statement” or “Further Joint Case Management Statement” as
appropriate. In cases involving pro se litigants, the parties may file separate case management
statements.

Parties may not stipulate to continue a case management, status, or pretrial conference
without Court approval. Each party shall be represented in person at the Case Management
Conference by lead trial counsel (or a party if pro se), who shall be (1) prepared to address all of
the matters referred to in the Northern District of California’s General Standing Order on Joint
Case Management Statements; and (2) have full authority to enter stipulations and make
admissions pursuant to that order. The Court conducts Case Management Conferences via Zoom
(public webinar). Permission for a party to attend by telephone may be granted, in the Court’s
discretion, upon written request made at least two (2) weeks in advance of the hearing, if the
Court determines that good cause exists to excuse personal attendance and that personal
attendance is not needed in order to have an effective conference. The facts establishing good
cause must be set forth in the request. If the Court grants a party’s request for telephonic
appearance, the party shall arrange for the appearance by calling CourtCall at (888) 882-6878
not later than 3:00 p.m. the court day prior to the hearing date.

All motion hearings, case management, status and pretrial conferences conducted on
Zoom are recorded on Zoom. The hearing and conferences that are held in person are audio

recorded. They are not reported by a court reporter unless counsel requests a court reporter in

advance.

CIVIL DISCOVERY

Parties shall propound disclosures and discovery in accordance with Federal Rules of Civil
Procedure 26 through 37 and the corresponding Civil Local Rules for the Northern District of
California. A copy of the Local Rules is available at the Clerk’s Office and at the Court’s website
(http://www.cand.uscourts.gov). No exceptions to the limitations established in the Federal and

Local Rules shall be permitted except pursuant to stipulation of the parties or order of the Court.

United States District Court
Northern District of California

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Case 3:25-cv-01251-SK Document3_ Filed 02/05/25 Page 7 of 13

If parties believe a protective order is necessary, they shall, where practicable, use one of
the model stipulated protective orders (available at http://cand.uscourts.gov/stipprotectorder).
Parties shall file one of the following with their proposed protective order: (a) a declaration stating
that the proposed order is identical to one of the model orders except for the addition of case-
identifying information or the elimination of language denoted as optional; (b) a declaration
explaining each modification to the model order, along with a redline version comparing the
proposed protective order with the model order; or (c) a declaration explaining why use of one of
the model orders is not practicable.

Meet and confer requirement for discovery disputes. As an initial matter, the parties must
comply with Section 9 of the Northern District’s Guidelines for Professional Conduct regarding
discovery (available at http://cand.uscourts.gov/professional_conduct_guidelines). Prior to filing
any discovery-related letter, lead trial counsel for all parties shall meet and confer in person, or
telephonically if an in-person conference is not feasible, regarding the discovery dispute(s) in an
effort to resolve these matter(s). If unable to resolve all disputes through this procedure, the party
seeking Court intervention may file an appropriate joint letter. Upon receipt of the filing, the
Court may order the parties to further meet and confer if the nature of the dispute is such that it
should be resolved without court intervention.

In the rare event that the parties are unable to meet and confer as directed above, or a
moving party is unable to obtain the opposing party’s portion of a joint letter after the meet and
confer session, the moving party shall file a written request for a telephonic conference for the
purpose of enforcing the Court’s meet and confer requirement, or for the Court to fashion an
alternative procedure. The written request shall include a declaration which states any attempt to
meet and confer and/or obtain the joint letter, the reasons for the inability to comply with the
standing order, and (if possible) three dates and times at which all parties are available for a
telephonic conference. The moving party may attach exhibits to the declaration, but the
declaration and exhibits combined may not exceed seven pages. The Court will not excuse a

party from the requisite in-person or telephonic meeting unless good cause is shown.

United States District Court
Northern District of California

Case 3:25-cv-01251-SK Document3 Filed 02/05/25 Page 8 of 13

Joint Letter. After meeting and conferring as set forth above, the parties shall draft and
file a jointly signed letter within five (5) business days of the lead trial counsels’ meet and confer
session that contains the following:

(a) | Accover page with the case caption and an attestation that the parties met and

conferred in person or telephonically before filing the letter, complied with Section
9 of the Northern District’s Guidelines for Professional Conduct regarding
discovery prior to filing the joint letter, as well as the signature of both parties or
counsel;

(b) A section which sets forth the unresolved dispute and any pertinent factual
background, including relevant case management deadlines such as discovery cut--
off, pretrial conference and trial dates; and

(c) With respect to each issue relating to the unresolved dispute, a detailed summary
of each party’s final substantive position and their final proposed compromise on
each issue, including relevant legal authority. This process allows a side-by-side,
stand-alone analysis of each disputed issue.

The joint letter shall not exceed eight (8) double-spaced pages, excluding the cover page,
without leave of Court, and may not be accompanied by exhibits or affidavits other than exact
copies of interrogatories, requests for production of documents and/or responses, privilege logs,
and relevant deposition testimony. The joint letter must be e-filed under the Civil Events category
of “Motions and Related Filings>Motions--General>Discovery Letter Brief.” Upon receipt of the
joint letter, the Court will determine what future proceedings are necessary.

All exhibits to motions and/or discovery dispute letters should be separately filed on ECF.
For example, if the motion is Docket No. 30, and the declaration with ten exhibits is Docket No.
31, Exhibit A should be filed as Docket No. 31-1, Exhibit B should be Docket No. 31-2, and so
on. All exhibits should be filed in a searchable OCR format where possible.

Document Responses. In responding to requests for documents and materials under Fed.

R. Civ. P. 34, all parties shall affirmatively state, in a written response served on all other parties,

the full extent to which they will produce materials and shall, promptly after the production,
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United States District Court
Northern District of California

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Case 3:25-cv-01251-SK Document3 Filed 02/05/25 Page 9 of 13

confirm in writing that they have produced all such materials so described that are locatable after a
diligent search of all locations at which such materials might plausibly exist. It shall not be
sufficient to object and/or to state that “responsive” materials will be or have been produced.

To the maximum extent feasible, all party files and records should be retained and
produced in their original form and sequence, including file folders, and the originals should
remain available for inspection by any counsel on reasonable notice.

Depositions. Counsel shall consult in advance with opposing counsel to schedule
depositions at a mutually convenient time and location. Counsel and parties must comply with
Fed.R.Civ.P. 30(d)(1). Speaking objections are prohibited. When privilege is claimed, the
witness must answer questions relevant to the existence, extent, or waiver of the privilege, such as
the date of the communication, the speaker, and other people who were present to hear the
communication, and the subject matter, unless such information is itself privileged.

In emergencies during discovery events (such as depositions), any party may, after
exhausting good faith attempts to resolve disputed issues, seek judicial intervention pursuant to
Civil L.R. 37-1(b) by contacting the Court through the courtroom deputy. Before calling, the
parties must first send a short email describing the nature of the dispute to
skcrd@cand.uscourts.gov. If the Court is unavailable, the discovery event shall proceed with
objections noted for the record.

Discovery Hearings. In the event that a discovery hearing is ordered, the counsel shall
appear in person. Permission for a party to attend by telephone or Zoom may be granted, in the
Court’s discretion, upon written request made at least two (2) weeks in advance of the hearing
should the Court determine that good cause exists to excuse personal attendance and that
personal attendance is not needed in order to have an effective discovery hearing. The facts
establishing good cause must be set forth in the request.

Privilege Logs. Ifa party withholds information that is responsive to a discovery request
by claiming that it is privileged or otherwise protected from discovery, that party shall promptly
prepare and provide a privilege log that is sufficiently detailed and informative for the opposing

party to assess whether a document’s designation as privileged is justified. See Fed. R. Civ. P.
6

United States District Court
Northern District of California

Case 3:25-cv-01251-SK Document3 Filed 02/05/25 Page 10 of 13

26(b)(5). The privilege log shall set forth the privilege relied upon and specify separately for each

document or for each category of similarly situated documents:

(a)
(b)
(c)
(d)
(e)

(

(g)

The title and description of the document, including number of pages or Bates-
number range;

The subject matter addressed in the document;

The identity and position of its author(s);

The identity and position of all addressees and recipients;

The date the document was prepared and, if different, the date(s) on which it was
sent to or shared with persons other than its author(s);

The steps taken to ensure the confidentiality of the communication, including
affirmation that no unauthorized persons have received the communication; and
The specific basis for the claim that the document is privileged or protected. Failure
to furnish this information promptly may be deemed a waiver of the privilege or
protection.

MOTIONS TO SEAL

Any party who submits a request to file under seal pursuant to Civil Local Rule 79-5 shall

include a statement to inform the Court: (1) whether the document, or portion thereof, has been the

subject of a previous request to file under seal; and (2) if so, provide the docket numbers of the

request and order on the request, and describe whether the request was granted or denied. Parties

shall also submit a complete unredacted chambers copy of any brief or supporting papers lodged

under seal with all confidential material highlighted. Parties are admonished that.all requests to

seal shall be narrowly tailored to seal only those specific portions that the parties contend are

confidential.

LESS EXPERIENCED LAWYERS

The Court strongly encourages parties to permit less experienced lawyers to have an

important role in hearings and at trial. The Court will extend the time limits for an associate with

fewer than five years.

United States District Court
Northern District of California

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Case 3:25-cv-01251-SK Document3_ Filed 02/05/25 Page11o0f13

UNREPRESENTED (PRO SE) PARTIES

Parties representing themselves should visit the link titled “Pro Se Litigants” on

the Court’s homepage, www.cand.uscourts.gov/proselitigants. This section includes the

Court’s Pro Se Handbook and discusses the Legal Help Center, a free service for
unrepresented parties, where you can speak with an attorney who may be able to provide
basic legal help but not representation.
IT IS SO ORDERED.
Dated: November 15, 2024
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Artin Ko
SALLIE KIM
United States Magistrate Judge

Case 3:25-cv-01251-SK Document3 Filed 02/05/25 Page12o0f13

STANDING ORDER FOR ALL JUDGES
OF THE NORTHERN DISTRICT OF CALIFORNIA
CONTENTS OF JOINT CASE MANAGEMENT STATEMENT

All judges of the Northern District of California require identical information in Joint Case Management
Statements filed pursuant to Civil Local Rule 16-9. The parties must include the following information
in their statement which, except in unusually complex cases, should not exceed ten pages:

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Jurisdiction and Service: The basis for the court’s subject matter jurisdiction over plaintiff's
claims and defendant’s counterclaims, whether any issues exist regarding personal jurisdiction or
venue, whether any parties remain to be served, and, if any parties remain to be served, a
proposed deadline for service.

Facts: A brief chronology of the facts and a statement of the principal factual issues in dispute.

Legal Issues: A brief statement, without extended legal argument, of the disputed points of law,
including reference to specific statutes and decisions.

Motions: All prior and pending motions, their current status, and any anticipated motions.

Amendment of Pleadings: The extent to which parties, claims, or defenses are expected to be
added or dismissed and a proposed deadline for amending the pleadings.

Evidence Preservation: A brief report certifying that the parties have reviewed the Guidelines
Relating to the Discovery of Electronically Stored Information (“ESI Guidelines”), and
confirming that the parties have met and conferred pursuant to Fed. R. Civ. P. 26(f) regarding
reasonable and proportionate steps taken to preserve evidence relevant to the issues reasonably
evident in this action. See ESI Guidelines 2.01 and 2.02, and Checklist for ESI Meet and Confer.

Disclosures: Whether there has been full and timely compliance with the initial disclosure
requirements of Fed. R. Civ. P. 26, and a description of the disclosures made.

Discovery: Discovery taken to date, if any, the scope of anticipated discovery, any proposed
limitations or modifications of the discovery rules, a brief report on whether the parties have
considered entering into a stipulated e-discovery order, a proposed discovery plan pursuant to
Fed. R. Civ. P. 26(f), and any identified discovery disputes.

Class Actions: If a class action, a proposal for how and when the class will be certified, and
whether all attorneys of record for the parties have reviewed the Procedural Guidance for Class
Action Settlements.

Related Cases: Any related cases or proceedings pending before another judge of this court, or
before another court or administrative body.

Relief: All relief sought through complaint or counterclaim, including the amount of any

- damages sought and a description of the bases on which damages are calculated. In addition, any

party from whom damages are sought must describe the bases on which it contends damages
should be calculated if liability is established.

Settlement and ADR: Prospects for settlement, ADR efforts to date, and a specific ADR plan for
the case, including compliance with ADR L.R. 3-5 and a description of key discovery or motions
necessary to position the parties to negotiate a resolution.

Other References: Whether the case is suitable for reference to binding arbitration, a special
master, or the Judicial Panel on Multidistrict Litigation.

Effective January 17, 2023
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Case 3:25-cv-01251-SK Document3_ Filed 02/05/25 Page13o0f13

Narrowing of Issues: Issues that can be narrowed by agreement or by motion, suggestions to
expedite the presentation of evidence at trial (e.g., through summaries or stipulated facts), and
any request to bifurcate issues, claims, or defenses. The parties shall jointly identify (in bold or
highlight) one to three issues which are the most consequential to the case and discuss how
resolution of these issues may be expedited.

Expedited Trial Procedure: Whether this is the type of case that can be handled under the

‘Expedited Trial Procedure of General Order No. 64 Attachment A. If all parties agree, they shall

instead of this Statement, file an executed Agreement for Expedited Trial and a Joint Expedited

Case Management Statement, in accordance with General Order No. 64 Attachments B and D.

Scheduling: Proposed dates for designation of experts, discovery cutoff, hearing of dispositive
motions, pretrial conference and trial.

Trial: Whether the case will be tried to a jury or to the court and the expected length of the trial.

Disclosure of Non-party Interested Entities or Persons: Whether each party has filed the
“Certification of Interested Entities or Persons” required by Civil Local Rule 3-15. In addition,

each party must restate in the case management statement the contents of its certification by
identifying any persons, firms, partnerships, corporations (including parent corporations) or other
entities known by the party to have either: (i) a financial interest in the subject matter in
controversy or in a party to the proceeding; or (ii) any other kind of interest that could be
substantially affected by the outcome of the proceeding. In any proposed class, collective, or
representative action, the required disclosure includes any person or entity that is funding the
prosecution of any claim or counterclaim.

19. Professional Conduct: Whether all attorneys of record for the parties have reviewed the

Guidelines for Professional Conduct for the Northern District of California.

20. Such other matters as may facilitate the just, speedy and inexpensive disposition of this matter.

Effective January 17, 2023 2
